     Case 1:25-cv-10346-AK   Document 101    Filed 04/08/25   Page 1 of 4




                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF MASSACHUSETTS


COMMONWEALTH OF MASSACHUSETTS,         )
et al.                                 )
                                       )
                     Plaintiffs,       )
                                       )
            v.                         )    Case No. 1:25-cv-10338
                                       )
NATIONAL INSTITUTES OF HEALTH, et al., )
                                       )
                     Defendants.       )
                                       )
                                       )
ASSOCIATION OF AMERICAN MEDICAL        )
COLLEGES, et al.                       )
                                       )
                     Plaintiffs,       )
                                       )
            v.                         )    Case No. 1:25-cv-10340
                                       )
NATIONAL INSTITUTES OF HEALTH, et al., )
                                       )
                     Defendants.       )
                                       )
                                       )
ASSOCIATION OF AMERICAN                )
UNIVERSITIES, et al.                   )
                                       )
                     Plaintiffs,       )
                                       )    Case No. 1:25-cv-10346
            v.                         )
                                       )
DEPARTMENT OF HEALTH AND HUMAN         )
SERVICES, et al.,                      )
                                       )
                     Defendants.       )
                                       )




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        Case 1:25-cv-10346-AK          Document 101        Filed 04/08/25       Page 2 of 4




                                     NOTICE OF APPEAL

       Pursuant to Rule 4(a)(1) of the Federal Rules of Appellate Procedure, Defendants

National Institutes of Health, Jay Bhattacharya, in his official capacity as Director of the

National Institutes of Health,1 the U.S. Department of Health and Human Services, and Robert F.

Kennedy, Jr., in his official capacity as Secretary of the U.S. Department of Health and Human

Services, 2 hereby appeal to the United States Court of Appeals for the First Circuit from the

Final Judgment and Permanent Injunction entered in these cases on April 4, 2025, 3 as well as

from all interlocutory orders merged into that judgment, including the court’s preliminary

injunction of March 5, 2025. 4

Dated: April 8, 2025

                                               Respectfully submitted,

                                               LEAH B. FOLEY
                                               United States Attorney

                                               BRIAN C. LEA
                                               Deputy Associate Attorney General

                                                /s/ Thomas W. Ports, Jr.
                                               MARC S. SACKS (Ga. Bar No. 621931)
                                               Deputy Director
                                               KEVIN P. VANLANDINGHAM (NY Reg No.
                                               4741799)
                                               Assistant Director
                                               THOMAS PORTS (Va. Bar No. 84321)
                                               Trial Attorney
                                               U.S. Department of Justice


1
  Pursuant to Federal Rule of Civil Procedure 25(d), Acting Director Matthew Memoli’s
successor, Director Bhattacharya, is automatically substituted as a party.
2
  Pursuant to Federal Rule of Civil Procedure 25(d), Acting Secretary Dorothy Fink’s successor,
Secretary Kennedy, is automatically substituted as a party.
3
  No. 1:25-cv-10338 (Doc. No. 112); No. 1:25-cv-10340 (Doc. No. 56); and No. 1:25-cv-10346
(Doc. No. 100).
4
  No. 1:25-cv-10338 (Doc. No. 105); No. 1:25-cv-10340 (Doc. No. 51); and No. 1:25-cv-10346
(Doc. No. 95).
                                                  2
Case 1:25-cv-10346-AK   Document 101     Filed 04/08/25    Page 3 of 4




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        Case 1:25-cv-10346-AK          Document 101        Filed 04/08/25        Page 4 of 4




                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).

Dated: April 8, 2025                                  /s/ Thomas W. Ports, Jr.
                                                      Thomas W. Ports, Jr.
